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 6
     Attorneys for Plaintiff,
 7   ELIZABETH K. FERREIRA
 8
                          UNITED STATES DISTRICT COURT
 9                             DISTRICT OF NEVADA
10
     ELIZABETH K. FERREIRA,
11                                              Case No.: 2:17-cv-02361-JAD-NJK
                     Plaintiff,
12                                              NOTICE OF SETTLEMENT
13
           vs.                                  BETWEEN ELIZABETH K.
                                                FERREIRA AND EQUIFAX
14   AURORA BANK, FSB; ENERGY                   INFORMATION SERVICES, LLC
     FIRST CREDIT UNION; NUVISION                                                    N
15
     FEDERAL CREDIT UNION;                                                           O
16   EQUIFAX INFORMATION                                                             T
     SERVICES, LLC,                                                                  I
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18                     Defendant(s).

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           NOTICE IS HERBY GIVEN that the dispute between ELIZABETH K.
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21
     FERREIRA (“Plaintiff”) and Defendant EQUIFAX INFORMATION SERVICES,

22   LLC (“EQUIFAX”) has been resolved on an individual basis. The parties
23
     anticipate filing a Stipulation for Dismissal of the Action as to the named
24
     Plaintiff’s claims against EQUIFAX, with Prejudice, within 60 days. Plaintiff
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     requests that all pending dates and filing requirements as to EQUIFAX be vacated
 1

 2   and that the Court set a deadline sixty (60) from present for filing a Dismissal as to
 3
     EQUIFAX.
 4
           Dated: January 8, 2018
 5

 6
                                                    /s/ David H. Krieger, Esq.
                                                    David H. Krieger, Esq.
 7
                                                    Attorneys for Plaintiff
 8
                                                    ELIZABETH K. FERREIRA
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